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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                            CINCINNATI DIVISION



THE KROGER CO.,

     Plaintiff,
v.                                        No. 1:24-cv-00438-DRC
                                          Hon. Douglas R. Cole
THE FEDERAL TRADE COMMISSION, et
al.,
     Defendants.



                  DEFENDANTS’ REPLY IN SUPPORT OF MOTION
                  TO TRANSFER OR, ALTERNATIVELY, TO STAY
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                                        INTRODUCTION

       Kroger fails to explain why it waited until seven days before the three-week evidentiary

hearing in the parallel preliminary injunction proceeding in the District of Oregon to bring this

lawsuit. And Kroger does not deny that the resolution of that parallel preliminary injunction

proceeding may moot this case. Accordingly, this Court should wield its broad discretion to either

transfer this case to the District of Oregon for consolidation with the related proceeding therein, or

alternatively stay this case pending resolution of that related proceeding.

       Venue would be proper in the District of Oregon under both 28 U.S.C. § 1391(e)(1)(A) or

(B) because a substantial part of the events giving rise to the claim occurred therein, and because

a substantial amount of the property that is the subject of this action is located there. Kroger’s

overly narrow interpretation of the venue statute is contrary to binding precedent. Regardless,

Kroger concedes that venue would be proper in the District of Oregon had Kroger brought its

constitutional claims as counterclaims to the Section 13(b) proceeding.

       Given that venue would be proper in the District of Oregon, this Court should transfer to

that District based on the public-interest factors and the interest of justice. Kroger insists that

transfer would be inappropriate because both venues would be equally convenient for the parties,

but this improperly aggrandizes the private-interest factors (i.e., the convenience of the parties)

while ignoring judicial economy and systemic fairness. Judicial economy and systemic fairness

counsel in favor of a transfer to the District of Oregon given Kroger’s tactical decision to wait until

only a week before the evidentiary hearing therein was set to begin, the labor the court in the

District of Oregon has already expended, and the risk that this case could disrupt seven-months’

worth of proceedings there.

       Alternatively, the Court should stay this case pending resolution of the preliminary



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injunction proceeding in Oregon. Courts routinely stay cases where imminent events may moot

the case. That is precisely the circumstance here, as the resolution of the preliminary injunction

proceeding in Oregon could moot this case. And Kroger faces no harm in the meantime—much

less imminent, irreparable harm—as the Administrative Law Judge presiding over the

administrative proceeding has granted the parties’ joint motion to continue the recess of that

proceeding until 21 days after the District of Oregon issues a ruling on the preliminary injunction.

Kroger thus may never face an administrative proceeding, and Kroger indisputably does not

imminently face an administrative proceeding. Indeed, Kroger has conceded that a stay of the

administrative proceeding would merit a stay in this Court. Yet despite this concession, and

despite the continued recess of the administrative proceeding, Kroger has inexplicably refused to

agree to a stay in this case. Kroger offers no compelling reason to require this Court to decide the

collateral constitutional challenges on an expedited basis when Kroger has explicitly and

repeatedly emphasized in the Section 13(b) proceeding in Oregon that resolution of the Oregon

proceeding may moot Kroger’s claims here, and Kroger faces no alleged harm in the meantime.

                                          ARGUMENT

I.     The Court should transfer this case to the District of Oregon for consolidation with the
       related Section 13(b) proceeding pending therein.

        The Court should transfer this case to the District of Oregon for consolidation with the

Section 13(b) proceeding regarding the same underlying administrative proceeding. In relevant

part, 28 U.S.C. § 1404(a) provides that “[f]or the convenience of parties and witnesses, in the

interest of justice, a district court may transfer any civil action to any other district or division

where it might have been brought.” The threshold requirement is satisfied here, as Kroger “might

have [] brought” these claims in the District of Oregon under 28 U.S.C. § 1391(e)(1). Kroger’s

arguments otherwise are unavailing for multiple reasons, including its concession that venue would


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have been proper in the District of Oregon had it brought its constitutional claims as counterclaims

to the Section 13(b) proceeding. And transfer is warranted on the facts, as the public-interest

factors and the interest of justice strongly favor transferring the case to the District of Oregon,

while the private-interest factors are neutral.

       A. Venue would be proper in the District of Oregon.

       Kroger’s constitutional claims could have been brought in the District of Oregon under 28

U.S.C. § 1391(e)(1). See Kay v. Nat’l City Mortg. Co., 494 F. Supp. 2d 845, 849 (S.D. Ohio 2007).

Kroger’s argument to the contrary relies on outdated, overly narrow interpretations of § 1391(e)(1).

And just as importantly, Kroger does not dispute that this case could have been properly brought

in the District of Oregon under the doctrine of “pendent venue.” Defs.’ Mot. to Transfer or,

Alternatively, to Stay at 10 n.4, PageID 357 (“Mot.”). Kroger’s failure to dispute this argument

constitutes a concession. See Fed. Nat’l Mortg. Ass’n v. River Houze, LLC, 596 F. Supp. 3d 925,

932 (E.D. Mich. 2022) (collecting cases); Kensu v. Michigan Dep’t of Corr., No. 21-cv-1802, 2022

WL 17348384, at *4 (6th Cir. Dec. 1, 2022) (“Issues addressed only ‘in a perfunctory manner,

unaccompanied by some effort at developed argumentation’ are deemed waived.” (quoting

McPherson v. Kelsey, 125 F.3d 989, 995 (6th Cir. 1997)). Thus, even if this Court finds that venue

would not be proper in the District of Oregon pursuant to § 1391(e)(1), transfer for consolidation

with FTC v. The Kroger Co., No. 3:24-cv-00347-AN (D. Or.), would be appropriate under the

doctrine of pendent venue.

                i.   A substantial part of the events or omissions giving rise to the claim
                     occurred in the District of Oregon pursuant to 28 U.S.C.
                     § 1391(e)(1)(A).

       Kroger argues that this case could not have been brought in the District of Oregon despite

its consent to venue in the ongoing Section 13(b) proceeding there relating to the same underlying



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administrative proceeding. 1 But the Sixth Circuit has confirmed that the substantiality language

in § 1391(e)(1)(A) provides for venue in “any forum with a substantial connection to the plaintiff’s

claim.” First of Mich. Corp. v. Bramlet, 141 F.3d 260, 263 (6th Cir. 1998) (emphasis added)

(construing § 1391(b)). 2 Thus, courts considering whether venue is proper “‘should not focus only

on those matters that are in dispute or that directly led to the filing of the action,’ but ‘rather, . . .

should review the entire sequence of events underlying the claim.’”                    Int’l Paper Co. v.

Goldschmidt, 872 F. Supp. 2d 624, 633–34 (S.D. Ohio 2012) (quoting Mitrano v. Hawes, 377 F.3d

402, 405 (4th Cir. 2004) (cleaned up); accord Mitrano, 377 F.3d at 405 (citing Bramlet, 141 F.3d

at 264)). 3

        The Sixth Circuit addressed a similar situation in First of Michigan Corporation v. Bramlet,

141 F.3d at 263. There, the Bramlets initiated an arbitration action in Florida against First of

Michigan Corporation for allegedly failing to provide them with periodic updates on the value of



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           See ECF No. 14-1 at PageID 383 (Compl. for Temp. Restraining Or. and Inj. Relief (Redacted)
¶ 32, FTC v. The Kroger Co., No. 3:24-cv-00347-AN (D. Or.), ECF No. 1) (“Venue is proper in this District
under 28 U.S.C. § 1391(b) and (c) and 15 U.S.C. § 53(b).”); ECF No. 14-2 at PageID 434 (Def. The Kroger
Co.’s Answers and Affirmative Defs. ¶ 32, FTC v. The Kroger Co., No. 3:24-cv-00347-AN (D. Or.), ECF
No. 90) (“Kroger admits the allegations in Paragraph 32 that relate to Kroger.”).
         2
           The language in § 1391(b) is identical to the language in § 1392(e)(1), and courts therefore rely
on cases construing either one to interpret the other. See, e.g., E.V. v. Robinson, 200 F. Supp. 3d 108, 113
n.2 (D.D.C. 2016) (“Because § 1391(e)(1)(B) is identical to 28 U.S.C. § 1391(b)(2), cases construing that
general venue provision are ‘helpful in construing this provision.’” (quoting 15 Charles Alan Wright, Arthur
R. Miller & Edward H. Cooper, Federal Practice and Procedure § 3815 (4th ed.))).
         3
           Kroger relies on Reilly v. Meffe, 6 F. Supp. 3d 760, 766 (S.D. Ohio 2014), for the outdated
proposition that “only those acts or omissions with substantial, rather than tangential, connections to a
plaintiff’s claims can establish venue,” Opp. 7, PageID 715. But that proposition is contrary to the Sixth
Circuit’s broad reading of the venue statute. See Bramlet, 141 F.3d at 264. In particular, requiring that the
relevant events be more than “tangential” is contrary to the Sixth Circuit’s and other courts’ expansion of
“substantial” events (following an amendment to the venue statute) to include the entire sequence of events
underlying a claim. See, e.g., CareFirst, Inc. v. Taylor, 235 F. Supp. 3d 724, 732 (D. Md. 2017) (rejecting
argument that “[e]vents that relate only tangentially to the claim cannot constitute a substantial part of the
events or omissions giving rise to the claim” as contrary to proposition that “a court should not focus only
on those matters that . . . directly led to the filing of the action” (quoting Mitrano, 377 F.3d at 405)); see
also Int’l Paper Co. v. Goldschmidt, 872 F. Supp. 2d at 633–34. Regardless, the alleged antitrust conduct
underlying the challenged administrative proceeding is not “tangential” to Kroger’s constitutional
challenges to that same administrative proceeding.

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their Individual Retirement Account (“IRA”). See id. at 261. First of Michigan then filed a

separate lawsuit in the Eastern District of Michigan, seeking to enjoin and dismiss the Bramlets’

arbitration claims as ineligible for arbitration under the terms of the parties’ arbitration agreement

(which barred arbitration of claims relating to investments more than six years old). See id. at

261–62. The district court dismissed First of Michigan’s suit for improper venue, reasoning that

“the most substantial event giving rise to plaintiffs’ complaint . . . was the Bramlets’ filing of an

arbitration action” in Florida. Id. at 262–63. But the Sixth Circuit reversed, explaining that venue

was proper in Michigan because that was “where the underlying transactions and investments took

place.” Id. at 264.

       Here, similarly, “venue is proper where the underlying [alleged antitrust conduct] took

place.” Id. While the legality of the proposed acquisition may not be the “direct[]” focus of

Kroger’s constitutional claims, it is indisputably essential to “the entire sequence of events

underlying [Kroger’s] claim[s].” Int’l Paper Co., 872 F. Supp. 2d at 633–34. Indeed, courts

assessing venue in similar contexts consider the location of the alleged conduct underlying the

administrative proceeding. See, e.g., Alpha Servs., LLC v. Looman, No. 23-cv-2988, 2023 WL

6795545, at *5 (E.D. La. Oct. 13, 2023) (taking note in venue analysis, in collateral constitutional

challenge to DOL proceeding, that “all of the events underlying the administrative proceedings

occurred in Idaho and Washington State”). This case is no different.

       Additionally, the fact that collateral constitutional claims cannot be brought as affirmative

defenses in Section 13(b) district court proceedings has no bearing on the venue inquiry here.

Neither the Commission nor any court has ever taken the position, as Kroger claims, that “there is

no relationship between the constitutional arguments and the Section 13(b) proceeding.” Id.

Rather, constitutional claims cannot be brought as affirmative defenses to a Section 13(b)



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proceeding because “the relevant metric of ‘success’ [in a Section 13(b) preliminary-injunction

proceeding] concerns the antitrust merits in the underlying [administrative] proceedings.” FTC

v. IQVIA Holdings Inc., No. 23-cv-06188 (ER), 2023 WL 7152577, at *3 (S.D.N.Y. Oct. 31, 2023)

(emphasis added); see also Starnes Fam. Off., LLC v. McCullar, 765 F. Supp. 2d 1036, 1048 (W.D.

Tenn. 2011) (“An affirmative defense is an ‘assertion of facts and arguments that, if true, will

defeat the plaintiff’s . . . claim, even if all the allegations in the complaint are true.” (quoting

Black’s Law Dictionary (9th ed. 2009))). Thus, such constitutional claims must be brought as a

“separate action,” id.—meaning an independent claim (including a counterclaim) as opposed to an

affirmative defense. The fact that collateral constitutional challenges to an administrative antitrust

proceeding must be brought as a “separate action” does not mean that such challenges are wholly

unrelated to the alleged antitrust conduct that gave rise to the administrative proceeding in the first

place.

         Finally, Kroger is incorrect in its assertion that courts must “focus on the relevant activities

of the defendant, rather than the plaintiff, in determining where a substantial part of the underlying

events occurred.” Mem. of L. in Opp. to Defs.’ Mot. to Transfer or Stay at 7, PageID 715 “(Opp.”)

(quoting Pioneer Surgical Tech., Inc. v. Vikingcraft Spine, Inc., 2010 WL 2925970, at *3 (W.D.

Mich. July 21, 2010)). To the contrary, the Sixth Circuit considers the activities of both the

plaintiff and the defendant when evaluating proper venue. See Bramlet, 141 F. 3d at 264

(considering both the plaintiffs and defendants’ activities in evaluating proper venue under

§ 1391(b)(2)); see also, e.g., Parenteau v. Century Bank, No. 2:07-CV-851, 2008 WL 281626, at

*2 (S.D. Ohio Jan. 31, 2008) (rejecting argument “that this court is permitted to consider only the

acts of the defendant” under § 1391(b), which “narrow approach” was “implicitly rejected by the

Sixth Circuit in Bramlet” (citing Bramlet, 141 F. 3d at 264)). Regardless, the reason that other



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courts focus on the defendant’s conduct over the plaintiff’s conduct is to “preserve the element of

fairness so that a defendant is not haled into a remote district having no real relationship to the

dispute.” Pioneer Surgical Tech., Inc., 2010 WL 2925970, at *3 (quoting Cottman Transmission

Sys., Inc. v. Martino, 36 F.3d 291, 294 (3d Cir.1994)) (quoted at Opp. 7, PageID 715). There is

no concern here that it would be unfair for Kroger to hale the Commission into the District of

Oregon, nor that the District of Oregon lacks any “real relationship to the dispute,” id., given the

ongoing Section 13(b) proceeding therein. In fact, such position runs counter to Kroger’s

admission before the District or Oregon that venue is proper for the Section 13(b) proceeding. See

supra note 1.

       Accordingly, venue would be proper in the District of Oregon pursuant to § 1391(e)(1)(A).

                ii.   A substantial part of the property that is the subject of this action is
                      located in the District of Oregon pursuant to 28 U.S.C. § 1391(e)(1)(B).

       Venue would also be proper in the District of Oregon under § 1391(1)(B) because a

substantial number of Albertsons’ stores are located therein. Kroger’s narrow interpretation of

“substantial property” in § 1391(e)(1)(B) finds no support within this Circuit. See Mot. 6, PageID

353 (citing no district court or court of appeals decision within the Sixth Circuit).

       Indeed, other courts have explicitly rejected the narrow interpretation of § 1391(e)(1)(B)

on which Kroger relies. For example, one court disclaimed the proposition on which Kroger relies

as “entirely dictum” that was “unsupported by reference to any other case law.” World Holdings,

LLC v. Fed. Republic of Germany, No. 08-cv-20198, 2009 WL 10664174, at *4 (S.D. Fla. May

22, 2009) (discussing original statement in Falcoal, Inc. v. Turkiye Komur Isletmeleri Kurumu,

660 F. Supp. 1536, 1543 (S.D. Tex. 1987), that identical venue provision under Foreign Sovereign

Immunities Act, 28 U.S.C. § 1391(f), is “applicable [only] to suits involving property disputes or

in rem actions”); see also Barrow v. Sutton, No. CV H-14-200, 2014 WL 12586346, at *3 (S.D.

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Tex. July 16, 2014) (explaining that Falcoal’s holding excludes only a corporation’s financial

assets from § 1391(b)(2), and finding § 1391(b)(2) did apply to “specifically identifiable, tangible

personal property which was the subject of the [allegedly injurious] agreements and business

dealings” between the parties).

        Other courts have interpreted § 1391(b)(2) more appropriately to provide for proper venue

in cases in which some property interest is at stake, directly or indirectly. See, e.g., Barrow, 2014

WL 12586346, at *3 (finding venue proper under § 1391(b)(2) in district in which automobile was

located where plaintiff alleged fraud, breach of warranty, and breach of contract regarding work

done on automobile); Airport Working Grp. of Orange Cnty., Inc. v. U.S. Dep’t of Def., 226 F.

Supp. 2d 227, 228 (D.D.C. 2002) (finding “it is beyond dispute that venue is proper” under

§ 1391(e) where plaintiff brought NEPA and Clean Air Act challenges to agency’s environmental

impact statement regarding proposed land use); Burns v. Burns, No. 5:15-CV-2329-PSG, 2015

WL 5168475, at *2 (N.D. Cal. Sept. 2, 2015) (finding venue proper under § 1391(b) in district in

which trust instrument was executed where plaintiff alleged fraudulent misrepresentation and

breach of fiduciary duty related to administration of trust); Verizon Online Servs. v. Ralsky, 203 F.

Supp. 2d 601, 623 (E.D. Va. 2002) (finding venue proper under § 1391(b)(2) in district in which

e-mail servers were located where plaintiff alleged trespass to chattel and statutory computer crime

violations related to junk emails).

        This case indisputably concerns a property interest: the Albertsons property that Kroger

seeks to acquire in the proposed merger. 4 According to Kroger, the administrative proceeding



        4
          Kroger protests that it is acquiring the stock of Albertsons, not the stores. See Mot. 6, PageID
353. This is a distinction without meaning. The venue statute requires only that a “substantial” part of the
property is located in a particular venue. Regardless of whether the proposed acquisition technically refers
to Albertsons’ stock or Albertsons’ stores, Kroger is necessarily acquiring Albertsons’ stores. A substantial
number of those stores are located in Oregon.

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violates the Constitution because it supposedly imposes upon “Kroger’s private right to use,

purchase, and dispose of property.” PI Mot. 13–14, PageID 49–50. The administrative proceeding

thus necessarily concerns Kroger’s alleged entitlement to Albertsons’ property. Notably, Kroger

does not dispute that—for purposes of a § 1391(e) analysis—a substantial amount of the implicated

property is located in Oregon. In sum, this case involves property, and a substantial amount of

that property is located in the District of Oregon. 5

        B. The public interest factors counsel in favor of transfer.

        The public interest factors—including “the pendency of related litigation in another

district, judicial economy, the transferee judge’s familiarity with the facts and circumstances of

the case, and the need to promote the fair and consistent resolution of related cases”—counsel

strongly in favor of a transfer. Stewart v. Chesapeake Expl., LLC, No. 2:12-CV-270, 2012 WL

3151255, at *4 (S.D. Ohio Aug. 2, 2012).

        Kroger does not deny that it waited six months—until the eve of the preliminary injunction

hearing in Oregon—to file this suit. Kroger’s only response is to claim that “[t]he outcomes of

these two cases will not intersect or contradict each other.” Opp. 10–11, PageID 718–19. But

Kroger is necessarily seeking to enjoin the administrative proceeding that gives rise to the Section

13(b) proceeding. To the extent Kroger is seeking to disrupt the proceedings in Oregon through

this collateral attack, the public interest factors weigh strongly in favor of a transfer to the District

of Oregon, where the court has completed a three-week evidentiary hearing and is set to rule

imminently.

        The public interest factors also support transfer because a decision in the Section 13(b)


        5
          Notably, none of the property implicated in this case is located in the Southern District of Ohio.
Albertsons does not operate in Ohio, and thus Kroger is not seeking to acquire any property therein. See,
e.g., Albertsons, Company fact sheet, https://perma.cc/QR5N-VXHA (available on Albertsons’ website by
selecting “Learn More” at https://www.albertsonscompanies.com/about-aci/overview/default.aspx).

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proceeding may moot the instant case. Kroger attempts to downplay the likelihood of mootness.

But Kroger has repeatedly made clear that it will abandon the proposed acquisition should the

District of Oregon issue a preliminary injunction in the Section 13(b) proceeding. See ECF No.

10-5 at PageID 217, 267 (Rough Tr. at 100:6–7, 150:10–17 (Aug. 26, 2024), The Kroger Co., No.

3:24-cv-00347-AN (D. Or.)) (stating that “the outcome of this hearing is going to most certainly

be dispositive of whether this merger goes through or not,” and “[t]his merger will not occur if this

injunction is in place.”). Indeed, Kroger explicitly and approvingly quoted Defendants’ filings in

this case during closing statements in the Section 13(b) proceeding in Oregon, stating that the

Government “is absolutely right” that the administrative proceeding “may well be adjourned or

vacated entirely based on the outcome of the FTC’s concurrent action in the District of Oregon.”

See, e.g., Tr. at 3525:22–23 (Sept. 17, 2024), The Kroger Co., No. 3:24-cv-00347-AN (D. Or.)

(attached as Exhibit A) (“This case will decide the fate of the merger.”); id. at 3526:15–22

(reiterating that “[t]his [preliminary injunction] is what matters” and “[t]his is what will decide the

fate of the merger”). Thus, by Kroger’s own express admission, this case faces imminent potential

mootness.

       Kroger further attempts to downplay the likelihood of mootness by arguing that the

Commission may move forward with prospective relief in the Part 3 proceeding even if Kroger

and Albertsons abandon the proposed acquisition. See Opp. 11, PageID 719. But Kroger does not

even attempt to explain why the Commission would choose to take such a historically rare move.

See Mot. 13 n.6, PageID 360 (“Although the Commission has the authority to maintain an

administrative case after the parties abandon a merger, it has historically done so only in rare

circumstances.”). Indeed, the FTC’s Complaint Counsel, who prosecutes the administrative

proceeding, stipulates that it will not seek prospective relief in the administrative proceeding



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should Kroger and Albertsons abandon the proposed acquisition.

        The Commission itself has suggested that abandonment in this case could be significant.

When the Commission denied Kroger and Albertsons’ previous motion to stay the administrative

proceeding, the Commission explained that—unlike cases in which there was good cause to stay

an administrative proceeding pending resolution of a concurrent Section 13(b) proceeding in

federal court—Kroger and Albertsons had not yet “indicated that they would abandon the proposed

transactions if a preliminary injunction were issued, potentially obviating the need for the

administrative hearing completely.” Order Denying Resps.’ Mot. for Continuance of Ev. Hearing

at 3 (May 29, 2024), https://perma.cc/Y3CF-MC4B. As noted above, Kroger and Albertsons have

now made clear that they do indeed intend to “abandon the proposed transactions if a preliminary

injunction were issued,” thereby “potentially obviating the need for the administrative hearing

completely.” Id. Thus, the Commission’s denial of Kroger and Albertsons’ motion to stay

highlights the significance of potential abandonment. 6

        In addition to downplaying the potential for mootness, Kroger also summarily attempts to

undermine the Oregon court’s familiarity with the legal and factual background of this case as

“irrelevant.” Opp. 12, PageID 720. But at least Kroger’s Article III claim is necessarily

intertwined with the language and purpose of the Clayton Act and the FTC Act, both of which the




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           In denying that motion to stay, the Commission also noted that Kroger and Albertsons
affirmatively chose to have the Section 13(b) evidentiary hearing in Oregon begin long after the
administrative proceeding was scheduled to begin. See Order Denying Resps.’ Mot. for Continuance of
Ev. Hearing (May 29, 2024), https://perma.cc/Y3CF-MC4B; see also Mot. 6, PageID 353. The district
court in Oregon offered for the Section 13(b) evidentiary hearing to take place in early May, such that it
would conclude prior to the originally scheduled beginning of the administrative evidentiary hearing on
July 31. See Order Denying Resps.’ Mot. for Continuance of Ev. Hearing at 1–2 (May 29, 2024),
https://perma.cc/Y3CF-MC4B. Kroger and Albertsons rejected that offer, instead agreeing that the Section
13(b) evidentiary hearing would begin on August 26. See id. at 2 (noting that Kroger and Albertsons
specifically “sought the dates” in the parallel proceedings “that they now argue are in conflict with the
already-scheduled administrative hearing”).

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Oregon court has now engaged with—in the context of this proposed merger—at great length.

Contrary to Kroger’s conclusory assertion in a footnote that the Oregon court’s familiarity with

the Clayton Act and the FTC Act has no bearing on Kroger’s Article III claim, it is not possible to

consider that claim without analyzing the governing legal standards themselves. See Opp. 12 n.1,

PageID 720. The Oregon court has already expended significant effort analyzing the Clayton Act

and the FTC Act, including considering precisely what kind of conduct those statutes are targeting

with regard to the proposed Kroger–Albertsons merger.

       Kroger further seeks to undermine the importance of the Oregon court’s familiarity with

the Clayton Act and the FTC Act by arguing that “the controlling law factor typically applies in

diversity jurisdiction cases and generally refers to a federal trial court’s familiarity with applicable

state law.” Opp. at 12, PageID 720 (quoting Nat’l Republican Senatorial Comm. v. Fed. Election

Comm’n, 672 F. Supp. 3d 538, 548 (S.D. Ohio 2023)). But Defendants do not premise any

argument on “the controlling law factor.” Id. Defendants explicitly acknowledge that, “given that

this case primarily involves questions of constitutional review of federal statutes, the District of

Oregon court is just as capable of deciding those questions as this Court.” Mot. 16, PageID 363.

The Oregon court’s familiarity with the factual and legal background is relevant here because it

indicates that “substantial savings of judicial time and resources” may “result from the transfer

and the conduct of coordinated proceedings.” Limited Serv. Corp. v. M/V APL PERU, 2010 WL

2105362, *5 (S.D. Ohio May 25, 2010); see also Mot. 14, PageID 361.

       Finally, Kroger argues that transfer would be inefficient because the Oregon court is

already tasked with resolving the Section 13(b) preliminary injunction “following three weeks of

evidentiary hearings and more than 250 pages of forthcoming post-trial briefing.” Opp. 12, PageID

720. But that is exactly why efficiency counsels in favor of a transfer. This Court is no less busy



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than the Oregon court, but the Oregon court is already intimately familiar with the factual and legal

background here, and is thus better equipped to resolve these claims, which in the interest of

efficiency should have been brought as counterclaims in Oregon to begin with.

       C. The private interest factors make the District of Oregon equally convenient for
          the parties than this District.

       Contrary to Kroger’s assertion, Opp. 9, PageID 717, Defendants do not seek to transfer this

case on the basis of the private-interest factors, i.e., the convenience of the parties, alone. Rather,

because both venues are equally convenient for the parties, the public factors and the interest of

justice—which favor transfer—should be dispositive. And Kroger does not contest that both

venues are equally convenient for the parties. See id.

       D. The interest of justice counsels in favor of transfer.

       The interest of justice is an independent factor that courts can and do consider separately

from the public-interest factors. See, e.g., Continental Grain Co. v. Barge FBL–585, 364 U.S. 19,

20–21 (1960) (finding transfer of case under 28 U.S.C. § 1404(a) so that two lawsuits arising from

single occurrence would be heard in same venue to be “in the interest of justice”); Research

Automation, Inc. v. Schrader-Bridgeport Int’l, Inc., 626 F.3d 973, 978 (7th Cir. 2010) (“The

‘interest of justice’ is a separate element of the transfer analysis that relates to the efficient

administration of the court system.”); Kay v. Nat’l City Mortg. Co., 494 F. Supp. 2d 845, 853–54

(S.D. Ohio 2007) (considering interest of justice and public interest as separate factors).

Regardless of whether this Court considers the interest of justice separately or in combination with

the public interest factors, these factors counsel strongly in favor of transfer.

       As Defendants have already explained, Kroger cannot justify its delay in raising its

constitutional claims in federal court by citing the impropriety of bringing collateral constitutional

challenges as affirmative defenses. See Mot. 18, PageID 365. While it is true that the Commission


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“has repeatedly (and successfully) moved to strike these kinds of constitutional defenses in Section

13(b) proceedings,” Opp. 13, PageID 721 (emphasis added), a counterclaim is fundamentally

different from a mere defense, see Mot. 18, PageID 365. Nothing in the Commission’s position

regarding affirmative defenses has any bearing on a constitutional counterclaim. And as explained

above, see supra pp. 5–6, the court’s reference to a “separate action” merely means an independent

claim, including a counterclaim, as opposed to an affirmative defense. 7 The impropriety of

asserting constitutional arguments as affirmative defenses therefore does not justify Kroger’s

action in bringing an entirely new lawsuit, six months after both the administrative proceeding and

the Section 13(b) proceeding were initiated, and seven days before the Section 13(b) evidentiary

hearing began.

        Kroger insists that it delayed bringing these claims while waiting on the Supreme Court’s

decision in Securities and Exchange Commission v. Jarkesy, 144 S. Ct. 2117 (2024). Opp. 13,

PageID 721. But Kroger does not explain why it had to wait until a decision in Jarkesy. Neither

of Kroger’s constitutional claims originated with Jarkesy. As Defendants noted, Kroger was aware

of the existence of these claims long before Jarkesy was decided on June 27, 2024. See, e.g., Mot.

17, PageID 364 (noting that Kroger brought removal claim and Article III claim as affirmative

defenses in administrative proceeding on March 11, 2024).               Nor does Kroger explain the

subsequent two-month delay in bringing these claims even after Jarkesy was decided. Kroger thus

has no explanation for waiting six months to bring this separate action, until a mere seven days

before the Section 13(b) evidentiary hearing began. And contrary to Kroger’s assertion, Opp. 13,

PageID 721, there is no inconsistency in Defendants’ positions that (1) this case should be


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          Indeed, the Commission has previously agreed with opposing parties in Section 13(b) proceedings
to brief constitutional counterclaims following the preliminary-injunction evidentiary hearing. See, e.g.,
FTC v. Intercontinental Exchange, Inc. (N.D. Cal. No. 3:23-cv-01710-AMO); FTC v. Amgen Inc. (E.D. Ill.
No. 1:23-cv-03053).

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transferred to the District of Oregon—where it would have most efficiently been brought as a

counterclaim to begin with—and (2) alternatively, should this Court decline to transfer, this case

should be stayed pending a decision in the Oregon case, which decision may moot further

proceedings here.

       Finally, Kroger’s characterization of these two sets of claims as entirely “separate and

independent” ignores that both sets of claims relate to the same underlying administrative

proceeding. Kroger filed this lawsuit after six months of proceedings, including full discovery, in

the Section 13(b) proceeding in Oregon. This Court should not countenance Kroger’s attempt to

play two courts off one another.

II.   In the alternative, the Court should stay this case pending resolution of the Section
      13(b) proceeding.

       The ALJ has granted the parties’ joint motion to extend the current recess in the

administrative proceeding until 21 days after the District of Oregon court issues a decision in the

Section 13(b) preliminary injunction proceeding. See Order Granting Jt. Mot. to Continue the

Recess of the Ev. Portion of the Part 3 Admin. Hearing, In the Matter of The Kroger Co., Dkt. No.

9428 (FTC Sept. 25, 2024), https://perma.cc/72U9-6VN6 (attached as Exhibit B).              Kroger

concedes that “a stay of the administrative proceedings until final resolution of the Oregon

proceeding” would merit a concomitant stay in this case. Opp. 15, PageID 723. Especially in light

of that order, this Court should stay the instant case pending resolution of the Section 13(b)

preliminary injunction.

       Despite Kroger’s concession, and despite the fact that it joined the motion in the

administrative proceeding, Kroger still inexplicably resists a concomitant stay in the instant case.

But Kroger cannot allege that it will suffer any harm—much less any imminent, irreparable

harm—until after resolution in the Section 13(b) proceeding. A stay of this case pending resolution


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in the Section 13(b) proceeding would also conserve judicial and party resources and protect this

Court from issuing an advisory opinion on a dispute that may soon become moot. Kroger has no

justification for resisting a stay in this case.

          Indeed, contrary to Kroger’s contention, courts routinely stay cases in anticipation of

possible mootness. See, e.g., Stinnie v. Holcomb, 396 F. Supp. 3d 653, 660 (W.D. Va. 2019)

(granting stay based in part on possibility that Virginia Legislature would repeal offending

provision, especially given constitutional avoidance); Pavek v. Simon, No. 19-CV-3000

(SRN/DTS), 2020 WL 4013982, at *2–3 (D. Minn. July 16, 2020) (granting stay “until the end of

the regular 2021 Minnesota Legislative session—or until legislation that moots or otherwise

resolves this case is enacted, whichever occurs first” in order “to avoid . . . a significant potential

for duplicative efforts and wasted party resources”); Luckey v. U.S. Dep’t of the Navy, No. 18-cv-

06071-HSG, 2019 WL 4059855, at *2 (N.D. Cal. Aug. 28, 2019) (granting stay pending either

passage of a particular bill before Congress, or the end of the Congressional session, whichever

occurred first).

          Kroger invokes past conduct by the Commission and the presiding ALJ, Opp. 15, PageID

723, but such conduct is irrelevant in the face of the order continuing the recess. Regardless,

Kroger’s invocation of the Commission’s denial of its motion to continue is unavailing for the

reasons explained above. See supra p. 11. The Commission expressly denied that motion in part

because Kroger and Albertsons had not indicated that they would abandon the proposed acquisition

should the preliminary injunction issue in Oregon; Kroger and Albertsons now have so indicated.

See id.

          Finally, Kroger’s interpretation of the doctrine of constitutional avoidance is overly

narrow. Opp. 16, PageID 724. Courts often explicitly rely on that doctrine when deciding whether



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to stay proceedings. See, e.g., Gomez v. Dretke, 422 F.3d 264, 267 (5th Cir. 2005) (granting stay

to avoid “what might be rendered an effectively advisory opinion” and “to avoid myriad

constitutional quandaries”); Stinnie, 396 F. Supp. 3d at 660 (granting stay where “judicial

economy weighs in favor of a stay until the General Assembly either repeals [the challenged law]

or elects not to do so,” where repeal would avoid the need to render a constitutional opinion).

                                         CONCLUSION

       For the foregoing reasons, the Court should transfer this case to the District of Oregon or,

alternatively, stay further proceedings pending resolution in FTC v. The Kroger Co., No. 3:24-cv-

00347-AN (D. Or.).



Dated: September 25, 2024                    Respectfully submitted,

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